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                             UNITED STATES DISTRICT COURT
                                       FOR THE                              2121 fJEC 30 AH rI: 23
                                 DISTRICT OF VERMONT                                 CLEHK

CHRISTINA RAINVILLE,                               )
                                                   )
                Plaintiff,                         )
                                                   )
         V.                                        )      Case No. 2:20-cv-00051
                                                   )
BOXER BLAKE & MOORE PLLC                           )
and BOXER BLAKE MOORE &                            )
SLUKAPLLC,                                         )
                                                   )
                Defendants.                        )

                                   ENTRY ORDER
                         RE: IN CAMERA DOCUMENT REVIEW
         On October 5, 2020, the court ordered Plaintiff Christina Rainville to produce to
the court all documents, correspondence, and other information in written or electronic
form obtained or derived from her employment with Defendants in her possession,
custody, or control. The documents in question were stored on a personal laptop which
Plaintiff used for work and other purposes. That same day, the court issued a Protective
Order.
         On November 4, 2020, Plaintiff provided a thumb drive of the over 12,000 pages
of documents to both the court and Defendants. The parties dispute the extent to which
Plaintiff is entitled to use certain documents in this litigation and whether Plaintiff
violated any employment policy or agreement in their retention.
         In a November 18, 2020 letter to the court, Plaintiff identified certain documents
which she contends are relevant to the prosecution of her claims against Defendants.
With the exception of 1741-42, which Plaintiff has withdrawn, the court agrees that these
documents satisfy the liberal relevance standard set forth in Fed. R. Evid. 401. The court
is aware of no controlling precedent that would prohibit Plaintiff's use of and reliance on
these documents in this lawsuit.
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       The vast majority of the remaining documents reviewed by the court (many of
which are duplicates) pertain to work Plaintiff performed while employed by Defendants.
There is no evidence before the court that Plaintiffs retention of these documents was in
bad faith. Defendants, however, have a professional responsibility to ensure that
documents relevant to Plaintiffs representation of their joint former clients are handled
pursuant to a protocol that prohibits their wrongful dissemination and misuse.
       To identify and narrow the category of documents that may be destroyed without
prejudice to any party or to any attorney-client relationships, the court's in camera review
has separated the documents into several categories. The court's ability to properly
categorize the documents was hampered by the limited factual context in which the in
camera review took place. Because the court examined all of the documents in Plaintiffs
possession, custody, and control without reference to the subject matter, a client list, time
frame, or factual or legal issue, it must await further clarification from the parties
regarding their proper designation.
I.     Potential Attorney Work Product
1-572               3109-24              4469-73             5525-35              5808-54
683-696             3134-3207            4494-4500           5546-51              5859
760-66              3208-17              4503-20             5554-61              5879
904                 3218-3312            4523-24             5574-77              5887-88
999-1000            3397                 4527-28             5583-86              5892
1104                3399                 4531-33             5590-91              5895
1703                3402-25              4537-48             5604                 5900
1731-61             3446-57              4994-97             5618                 5906-08
1777-85             3481-98              5192-93             5620-21              5911-13
1879-83             3604-23              5195-97             5624-25              5914-18
1887-1909           3662-3703            5269-72             5630-34              6032-57
1924                3704-11              5274-83             5642-65              6065-66
1929                3728-35              5286-90             5670-72              6075-78
2758-2815           3984                 5292-95             5677-81              6082-91
2824                4121-84              5302-07             5712-40              6091-6100
2826                4217-21              5400-04             5759-66              6104-36
2839-40             4223-27              5405-61             5768-72              6137-42
2986-3019           4230-65              5462-69             5777-78              6147-48
3020-37             4274-4383            5470-75             5783                 6163-66
3040-50             4384-4403            5483-5519           5794                 6171

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6211-16            7694-7700        8771-76         9340             10237-42
6221               7702-09          8792            9378-81          10244-51
6257               7721-59          8795-8800       9385-94          10256-57
6257               7761-82          8802-04         9400-02          10269
6263-66            7784-47          8806            9404-13          10275-76
6267-86            7848-61          8829-32         9414-15          10282-88
6309-6645          7863-64          8840-41         9417-19          10373
6648               7880             8860            9424-33          10376-88
7108-13            7883             8862            9439-43          10948-50
7115-20            7885             8864-65         9834-40          10972-99
7122-47            7890-91          8867            9844             10992-
7152-64            7894             8883            9845             11011
7167-70            7906-07          8887            9851-58          11013-36
7233-38            7928-34          8893            9862-66          11041-71
7240-45            8005-06          8897            9868-71          11084-94
7248               8034-76          8901            9873-75          11127-28
7252               8080-81          8905            9877-78          11130-45
7298-7306          8102-06          8910-24         9885             11146-73
7331-35            8158-87          8934-38         9908             11609
7371-75            8194-8200        8941-42         9910-11          11613-62
7399-7400          8207-10          8954            9957-60          11668-738
7402               8216-18          8956            9963             11778
7411               8223-25          8961-62         9976-86          11786-87
7415-23            8226             8964            9988-94          11790
7426-31            8229-54          9095-98         9996-10001       11793
7489-94            8266-73          9100            10004-11         11808-13
7498-99            8281-83          9113-60         10023            11815-19
7501-03            8586             9168-69         10027            11826-29
7507-12            8589-97          9173            10035-36         11842
7517               8601-05          9182-84         10040-42         11845-53
7520-21            8619-24          9187            10049-53         11859-61
7526-28            8635-37          9191-92         10058-59         11864-65
7541-47            8640-45          9194-9200       10063-64         11872
7566-69            8661             9202-05         10069            11942-44
7571               8663-79          9207-33         10130-32         11946-57
7599-7600          8681             9234-36         10141-43         11962-64
7603               8684-88          9237-47         10146-68         11966-70
7641-42            8691             9252-53         10170            11998
7643-47            8694-98          9270-73         10172-78         12005
7655               8702             9274-77         10197-98         12007
7665-83            8752-53          9288-96         10201-02         12008
7685               8754-57          9311            10218            12018-19
7686-92            8763-64          9318            10230-35         12032

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12071-72            12077              12410-19             12441-47       12570-71
12075               12079-80           12470-75             12512-26       12591-603
II.      Potential Attorney-Client
1353-59                 4499-4500                 6263-66              9274-75
1361-72                 5399                      7064                 9896
1509-14                 5767                      7209-30              9973-75
1516-18                 5571                      8102-06              10019
1519-42                 5574-77                   8793-94              11072-83
2343-44                 5891                      8957                 11127-28
3462-71                 5900                      9095-98              11829
3473-76                 5906-08                   9100                 12356
4475                    5911-13                   9234-36              12570-71
4477                    5914-18                   9237-47
4266                    5965                      9254
III.     Fully or Partially Redacted/No Review Possible
279-699                 5618                      6659-60              8764
946                     5632-33                   6671                 8889-90
1099                    5752-55                   6760                 9278-87
1303-1604               5782                      7036                 9248-51
1831-67                 5784                      7048                 9268-69
3314-96                 5787                      7087-89              9867
4006-79                 5789                      7097-98              9872
4410-34                 5860-61                   7207                 9876
4449-64                 5870-71                   7307                 9879
213-66                  5889-90                   7338                 9886
5284-85                 5893-94                   7424                 9957-60
5554                    5899                      7500                 9963
5603                    5909-10                   7512                 10318-29
5609-17                 6311                      7615                 12347-55
IV.    Illegible in Whole or in Part
4273                    6312                      7533-40              7618-28
6310                    6653                      7550-64
6311                    7504-06                   7573-98
V.     Personal, Practice Development, and Interoffice Emails
576-74                  598                       609                  703
577-83                  600                       611                  709
591                     601-02                    619-13               711
585                     603-06                    682-78               712
595                     607                       702                  713-52

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758-53                    945                      1098                       1305-07
767                       947                      1101-03                    1309-51
768                       960-57                   1105-08                    1360
771                       997                      1109-10                    1377-84
774-72                    998                      1111                       1387-89
788-75                    1067-52                  1294-96                    1390-1418
826-25                    1068                     1297-1300                  1423-30
938                       1069-96                  1301-03

         With regard to any document that is not categorized above, the court determined
that it was not relevant to this lawsuit, did not constitute attorney work product, and did
not appear to implicate an attorney-client relationship.
                                           ORDER
       The court hereby ORDERS Plaintiff within twenty (20) days of this Entry Order to
designate any further documents she wishes to retain for purposes of this lawsuit. The
court hereby ORDERS Defendants within fourteen (14) days thereafter to object to
Plaintiffs designations and to propose a protocol whereby the remaining documents are
either retained or destroyed.
SO ORDERED.
         Dated at Burlington, in the District of Vermont, this   3'!:__ day of December, 2020.

                                                   Christina Reiss, Distnc u ge
                                                   United States District Court




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